            Case 2:19-cv-01002-RAJ Document 14 Filed 03/15/21 Page 1 of 3




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 6                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF WASHINGTON
 7
 8   SCANNING TECHNOLOGIES
     INNOVATIONS LLC,                                    Civil Action No. Case No. 2:19-cv-1002-RAJ
 9
                              Plaintiff,
10
             v.                                           STI LLC’S FEE & COST SUBMISSION
11
     SMARTOSC US LLC,
12
                              Defendant.
13
14
15           Pursuant to the Court’s March 1, 2021 Order, Plaintiff Scanning Technologies Innovations,
16
     LLC (“STI”, “Plaintiff”) hereby submits the following concerning the amount of its fees according
17
     to the attached affidavit (Affidavit of Jay Johnson) and costs to be awarded under 35 U.S.C. 284.
18
     Therefore, in addition to the $50,000 award already granted by the Court, Plaintiff respectfully
19
20   requests that the Court add $10,935.00 in attorney fees (“Exhibit A”) and $825.00 in costs (“Exhibit

21   B”) (Total = $61,760.00).

22   Dated: March 15, 2021                               Respectfully Submitted,
23
24                                                    By: /s/ Nicholas Ranallo
                                                        Nicholas Ranallo, Attorney at Law (#51439)
25                                                      5058 57th Ave. South
                                                        Seattle, WA 98118
26                                                      (831) 607-9229
                                                        Fax: (831) 533-5073
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      PLAINITFF’S FEE & COST SIBMISSION                                  1
            Case 2:19-cv-01002-RAJ Document 14 Filed 03/15/21 Page 2 of 3




                                                 nick@ranallolawoffice.com
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 2                                               ATTORNEYS FOR PLAINTIFF

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     PLAINTIFF’S FEE & COST SUBMISSION
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